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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                         Case No. 2:07-cr-20-FTM-29DNF

LYNETT GADSDEN


                              OPINION AND ORDER
      This matter is before the Court on defendant Lynett Gadsden’s
pro se Motion for Reduction of Sentence Pursuant to 18 U.S.C. §
3582(c)(2) and USSG § 1B1.10 (Doc. #285) filed on December 1, 2008.
Defendant seeks a reduction in her sentence in light of Amendment
706 to the United States Sentencing Guidelines, which reduces the
base offense level for cocaine base offenses by two levels.
                                       I.
      Title 18 U.S.C. § 3582(c) gives the court discretionary
authority    to    reduce    the   term   of   imprisonment   portion   of   a
defendant’s       sentence   under    certain    circumstances.      Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).            The relevant United States Sentencing
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Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

         Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines

has been made retroactive by being listed in U.S.S.G. § 1B1.10(c)1.

Even     if   generally     eligible    for     a   reduction       in    the   term   of

imprisonment, a defendant must show that a reduction is consistent

with the policy statement in U.S.S.G. § 1B1.10.                     A reduction of a

term     of   imprisonment       is   not   consistent       with    the    Sentencing

Guidelines policy statement, and therefore is not authorized by §

3582(c)(2), if none of the retroactive amendments is applicable to

defendant,      U.S.S.G.     §   1B1.10(a)(2)(A),       or    if    the    retroactive

amendment      does   not    have     the   effect    of     lowering      defendant’s

applicable guideline range. U.S.S.G. § 1B1.10(a)(2)(B). Defendant

Gadsden satisfies all of these eligibility requirements and a

reduction in the term of imprisonment would be consistent with the

Sentencing Guidelines policy statement.


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       United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003).

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      While defendant is eligible for a reduction in the term of

imprisonment and such a reduction is not excluded by the Sentencing

Guidelines policy statement, the court must make two distinct

determinations before deciding whether and to what extent to reduce

a defendant’s term of imprisonment under § 3582(c)(2).             First, the

court must recalculate the sentence under the amended guidelines.

The court is required to determine the amended guideline range that

would   have    been   applicable    to   defendant   if     the   applicable

retroactive amendment had been in effect at the time defendant was

sentenced. U.S.S.G. § 1B1.10(b)(1). In making this determination,

the court “shall substitute only” the retroactive amendment for the

corresponding     guideline    provisions     there   were    applied    when

defendant was sentenced, and “shall leave all other guideline

application decisions unaffected.”         U.S.S.G. § 1B1.10(b)(1).       The

Court uses that new base level to determine what ultimate sentence

it would have imposed.      United States v. Bravo, 203 F.3d 778, 780

(11th Cir. 2000); United States v. Vautier, 144 F.3d 756, 760 (11th

Cir. 1998), cert. denied, 525 U.S. 1113 (1999).

      The second step is to decide whether, in its discretion, the

court will elect to impose the newly calculated sentence under the

amended guidelines or retain the original sentence.                Bravo, 203

F.3d at 781.      In making this decision, the court considers the

factors listed in § 3553(a) to the extent consistent with the

Sentencing Guidelines policy statement.          Bravo, 203 F.3d at 781;


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Vautier, 144 F.3d at 760.         The Court must also consider the nature

and seriousness of the danger to any person or the community that

may be posed by a reduction in defendant’s term of imprisonment,

U.S.S.G. § 1B1.10, Application Note 1(b)(ii), and may consider

post-sentencing conduct of defendant occurring after the imposition

of the original term of imprisonment, Application Note 1(b)(iii).

While the two steps are required, the court is not required to

reduce      defendant’s    sentence    because       that        determination        is

discretionary. Vautier, 144 F.3d 756, 760 (11th Cir. 1998); United

States v. Cothran, 106 F.3d 1560, 1562 (11th Cir. 1997); United

States v. Vazquez, 53 F.3d 1216, 122728 (11th Cir. 1995).

                                      II.

       At   the    original    sentence,      the    Court           determined     that

defendant’s Base Offense Level was 26, her Total Offense Level was

25,   her    Criminal   History    Category    was       I,    and    the   Sentencing

Guidelines range was 57 to 71 months imprisonment.                          The Court

granted a two level variance to account for the anticipated crack

cocaine amendment, in order to give defendant the benefit of the

amendment even if it was not made retroactive.                          This reduced

defendant’s       Sentencing   Guidelines     range       to    46     to   57    months

imprisonment.       Defendant was sentenced to 46 months imprisonment.

The application of Amendment 706 results in a Total Offense Level

of    23,   a   Criminal   History    Category      of    I,    and     a   Sentencing

Guidelines range of 46 to 57 months imprisonment.                     Since defendant


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has already received the benefit of the crack cocaine amendment at

the time of her original sentence, the Court in the exercise of its

discretion will not grant any additional reduction under Amendment

706.

       Accordingly, it is now

       ORDERED AND ADJUDGED:

       Lynett Gadsden’s pro se Motion for Reduction of Sentence

Pursuant to 18 U.S.C. § 3582(c)(2) and USSG § 1B1.10 (Doc. #285) is

DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this          11th    day of

December, 2008.




Copies:
AUSA Molloy
Lynett Gadsden
U.S. Probation




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